Case 2:21-cv-13852-JXN-CLW Document 42 Filed 06/27/22 Page 1 of 1 PageID: 178




Shauna Deluca, Esq. (260772018)
HASBANI & LIGHT, P.C.
450 Seventh Avenue, Suite 1408
New York, New York 10123
Tel: (212) 643-6677
sdeluca@hasbanilight.com

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 SIWELL, INC. D/B/A CAPITAL MORTGAGE
 SERVICES OF TEXAS,                                                     Docket No: 2:21-cv-13852-JXN-CLW

                               Plaintiff,                               NOTICE OF APPEARANCE
 -against-

 ALEXEI VOLOSEVICH; TAMMY SEWELL; JOSEPH
 JAMES REAL ESTATE; FOUNDATION REAL ESTATE
 AND CLEAR SKIES TITLE AGENCY LLC,

                               Defendants.


To: The Clerk of Court and all parties of record


       PLEASE TAKE NOTICE, that Plaintiff SIWELL, INC. D/B/A CAPITAL MORTGAGE

SERVICES OF TEXAS, has retained the undersigned as counsel and demands that you serve all

papers in the action upon the undersigned at the address state below.



Dated: New York, New York
       June 27, 2022

                                                                  /s/ Shauna Deluca
                                                             BY: Shauna Deluca, Esq.
                                                             HASBANI & LIGHT, P.C.
                                                             450 Seventh Avenue, Suite 1408
                                                             New York, New York 10123
                                                             Tel: (212) 643-6677
                                                             sdeluca@hasbanilight.com




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